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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DERRICK JERMAINE HARVEY,                     :
    Petitioner                               :
                                             :              No. 1:21-cv-02150
               v.                            :
                                             :              (Judge Kane)
WARDEN/SUPERINTENDENT                        :
OF USP CANAAN,                               :
     Respondent                              :

                                         ORDER
       AND NOW, on this 24th day of June 2022, upon consideration of the petition for a writ

of habeas corpus filed pursuant to 28 U.S.C. § 2241 (Doc. No. 1), and for the reasons that are set

forth in the accompanying Memorandum, IT IS ORDERED THAT:

       1.      The § 2241 petition (Doc. No. 1) is DISMISSED WITHOUT PREJUDICE for
               lack of jurisdiction; and

       2.      The Clerk of Court is directed to CLOSE this case.


                                                     s/ Yvette Kane
                                                     Yvette Kane, District Judge
                                                     United States District Court
                                                     Middle District of Pennsylvania
